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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

SARAH BOWLING,                                     )
LAURA DISALVO,                                     )
LORI KENNARD,                                      )
                                                   )
                            Plaintiffs,            )
                                                   )
                       v.                          )    Case No. 1:22-cv-01281-TWP-MJD
                                                   )
NETFLIX, INC.,                                     )
NETFLIX WORLDWIDE ENTERTAINMENT,                   )
LLC,                                               )
BLUMHOUSE PRODUCTIONS, LLC,                        )
REALHOUSE PRODUCTIONS, LLC,                        )
                                                   )
                            Defendants.            )
                                                   )
                                                   )
23andMe, Inc.,                                     )
                                                   )
                            Interested Party.      )

                 FINAL JUDGMENT PURSUANT TO FED. R. CIV. PRO. 58

        All claims having now been resolved in this consolidated action, the Court now enters

 FINAL JUDGMENT:

        Pursuant to the Court's Order Granting in Part and Denying in Part Defendants' Motion for

 Judgment on the Pleadings, the following claims of Plaintiff Sarah Bowling's Complaint are

 dismissed with prejudice: Count Four identity deception under the Crime Victims Relief Act

 ("CVRA"); and Count Five theft under the CVRA.

        Pursuant to the Court's Order Granting in Part and Denying in Part Defendants' Motion for

 Judgment on the Pleadings, the following claims of Plaintiff Laura DiSalvo's Complaint are

 dismissed with prejudice: Count Four identity deception under the CVRA; and Count Five theft

 under the CVRA.
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        Pursuant to the Court's Order Granting in Part and Denying in Part Defendants' Motion for

 Judgment on the Pleadings, the following claims of Plaintiff Lori Kennard's Complaint are

 dismissed with prejudice: Count Three identity deception under the CVRA; and Count Four theft

 under the CVRA.

        Pursuant to the Court's Order Granting in Part and Denying in Part Defendants' Motion for

 Summary Judgment, judgment is entered against Plaintiff Sarah Bowling and in favor of

 Defendants Netflix, Inc., Netflix Worldwide Entertainment, LLC, and RealHouse Productions,

 LLC (collectively, "Defendants"), on the following claims of Plaintiff Sarah Bowling's

 Complaint: Count Two deception under the CVRA; and Count Three intentional infliction of

 emotional distress.

        Pursuant to the Court's Order Granting in Part and Denying in Part Defendants' Motion for

 Summary Judgment, judgment is entered against Plaintiff Laura DiSalvo and in favor of

 Defendants on the following claims of Plaintiff Laura DiSalvo's Complaint: Count One invasion

 of privacy by public disclosure of private facts; Count Two deception under the CVRA; and Count

 Three intentional infliction of emotional distress.

        Pursuant to the Court's Order Granting in Part and Denying in Part Defendants' Motion for

 Summary Judgment, judgment is entered against Plaintiff Lori Kennard and in favor of

 Defendants on the following claims of Plaintiff Lori Kennard's Complaint: Count Two

 intentional infliction of emotional distress.

        Count One invasion of privacy by public disclosure of private facts of Plaintiff Sarah

 Bowling's Complaint and Count One invasion of privacy by public disclosure of private facts of

 Plaintiff Lori Kennard's Complaint were duly tried by the jury, and judgment as a matter of

 law under Federal Rule of Civil Procedure 50 was entered against Plaintiff Sarah Bowling and



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 Plaintiff Lori Kennard and in favor of Defendants on Plaintiff Sarah Bowling's and Plaintiff Lori

 Kennard's claims for punitive damages. The jury rendered its verdict against Plaintiff Sarah

 Bowling and in favor of Defendants on Count One invasion of privacy by public disclosure of

 private facts of Plaintiff Sarah Bowling's Complaint. The jury rendered its verdict against

 Defendants and in favor of Plaintiff Lori Kennard on Count One invasion of privacy by public

 disclosure of private facts of Plaintiff Lori Kennard's Complaint.

        Judgment is entered against Plaintiff Sarah Bowling and in favor of Defendants on Count

 One invasion of privacy by public disclosure of private facts of Plaintiff Sarah Bowling's

 Complaint.

        Judgment is entered against Defendants and in favor of Plaintiff Lori Kennard in the

 amount of $385,000.00.

        Judgment is entered accordingly, and this action is TERMINATED.

        SO ORDERED.

        Date:    12/6/2024




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